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SAO 187 (Rev, 7/87) Exhibit and Witness List.

UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO
THE IDAHO REPUBLICAN PARTY EXHIBIT AND WITNESS LIST
V.
BEN YSURSA Case Number: 1:08-CV-00165-BLW

PRESIDING JUDGE PLAINTIFF’S ATTORNEY DEFENDANT’S ATTORNEY
Judge B. Lynn Winmill Christ T. Troupis Michael S. Gilmore
TRIAL DATE (S) COURT REPORTER COURTROOM DEPUTY
October 12, 2010

No | uo. | ompaep |MARKED|ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES

1001 Michael C. Munger, Ph.D. Curriculum Vitae

1002 Michael C. Munger letter to Christ T. Troupis 1/11/10

1003 Michael C. Munger Article "Locking Up Political Speech"

1004 Michael C. Munger Report 1/20/10 re Issues on Crossover voting in Idaho Primaries
1005 Robert Moore Curriculum Vitae

1006 Moore Information Primary Voter survey 1/20/10

1007 Affidavit of David Ripley

1008 Second Affidavit of David Ripley

1009 Affidavit of Lenore Barrett

1010 Affidavit of Rod Beck

1011 Affidavit of Curtis Bowers

1012 Affidavit of Darrell Deide

1013 Affidavit of Henry Kulczyk

1014 Affidavit of Laird Maxwell

1015 Affidavit of Dennis Mansfield

1016 Affidavit of Greg Vance

1017 Affidavit of Steve Adams

1018 Report dated 7/1/10 on Schroeder and Ada County Commissioner Primary elections
1019 Email dated 5/21/10 from TJ Thomson

1020 Email dated 5/25/10 from Mayor David Bieter

1021 Idaho Public Employees Association Newsletter Spring 2010

* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 14'" day of September, 2010, |
electronically filed the foregoing Plaintiff's Exhibit List with the Clerk of the Court

using the CM/ECF system which sent a Notice of Electronic Filing to the following
persons:

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Exhibit List 2
